            Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 1 of 13




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                §
CAROL KRAEMER, individually and on              §
behalf of similarly situated individuals        §
                                                §
                   Plaintiff,                   §      CIVIL ACTION NO. 1:21-CV-00398
                                                                         ________
                                                §
v.                                              §
                                                §
CROSSOVER MARKET, LLC,                          §
TRIOLOGY ENTERPRISES, INC.                      §
AND ESW CAPITAL, LLC                            §
                                                §
                  Defendants                    §

                                  ORIGINAL COMPLAINT

       Plaintiff, CAROL KRAEMER, (“Plaintiff” or “Kraemer”), and on behalf of all others

similarly situated, by and through her undersigned counsel, hereby brings this action against

Defendants, Crossover Market, LLC, Trilogy Enterprises, Inc., and ESW Capital, LLC

("Defendants"), pursuant to the Fair Labor Standards Act of 1938 (FLSA), 52 Stat. 1060, as

amended, 29 U.S.C. §201 et seq (1994 ed. and Supp. III)("FLSA").

                                           PARTIES

       1.      Plaintiff Kramer worked exclusively for Crossover Market, LLC, Trilogy

Enterprises, Inc., and ESW Capital, LLC, as an hourly worker from about October 2018 until about

May 2020. Throughout her employment with Defendants, she was paid by the hour with no

overtime compensation and was classified as an independent contractor.

       2.      Kraemer brings this action on behalf of herself and all other similarly situated

workers who were classified as independent contractors and paid by Defendants as hourly workers.

Defendants paid each of these workers an hourly rate and failed to pay them overtime for all hours
             Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 2 of 13




that they worked in excess of 40 hours in a workweek in accordance with the FLSA. The class of

similarly situated employees (“Hourly Employees”) consists of:

                Current and former hourly workers employed by, or working on behalf
                of, Crossover Market, LLC, Triology, Inc., during the past three years
                who were classified as independent contractors and paid by the hour.
        3.        From about October 2018 to May 2020, Defendants employed Plaintiff as a remote

worker and paid her straight time for overtime.

        4.        Defendants gave Plaintiff the titles of Vice President of Finance, Revenue

Recognition, and Accounting Controller, and paid her on an hourly basis.

        5.        Plaintiff, CAROL KRAEMER, was an "employee" of Defendants, as that term is

defined by the FLSA. During her employment with the Defendants, the Plaintiff was individually

and directly engaged in interstate commerce by her regular and recurring use the instrumentalities

thereof as part of her regular and recurring job duties, and her work was essential to Defendants'

businesses. Plaintiff would use emails to request wire transfers, internet banking, mail and

interstate telephone. Many of the companies that Plaintiff handled accounting for were located

out of state.

        6.        Defendant CROSSOVER MARKET, LLC, (“Crossover”) is a professional

corporation formed and existing under the laws of the State of Texas and which maintains and

operates a recruitment and contractor clearinghouse business in Travis County, Texas, and is

subject to the provisions of the FLSA because at all relevant times it engaged in interstate

commerce or was part of an enterprise engaged in interstate commerce as defined by 29 U.S.C.

§§203(r) and (s).

        7.        Defendant Crossover Market, LLC is a Foreign Limited Liability Company whose

registered agent for service of process is Registered Agents, Inc., 5900 Balcones Drive, Suite 100,

Austin, Texas 78731.
             Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 3 of 13




       8.       Crossover markets itself as a cloud-based company that recruits talented workers

internationally to work remotely through cloud platforms.

       “At Crossover, we understand that you’re looking for professional growth and
       competitive compensation. That’s just what we offer to candidates who have the
       skills to stand out, and the willingness to complete our rigorous evaluation
       process. Our jobs are location-independent, long-term, and offer competitive
       hourly rates by U.S. standards.”

       https://www.crossover.com/pages/for-candidates

       9.       The company offers jobs to qualified candidates and arranges for them to apply for

positions (i.e. Engineering, Finance, Marketing, Operations, and Product Management Positions),

receive training, and work remotely. https://www.crossover.com/jobs

       10.      Defendant, ESW CAPITAL, LLC, (“ESW”) owns and operates Crossover. ESW

describes itself as a company that is “[b]ased in Austin, Texas, the ESW Capital group specifically

focuses on buying, strengthening, then growing mature business software companies.”

https://www.linkedin.com/company/eswcapital. The company engages in interstate commerce by

“taking advantage of its unique operating platform, ESW revitalizes its acquisitions for sustainable

success while making customer satisfaction a top priority. ESW and its affiliated companies have

been in the enterprise software space since 1988, and the group includes notable brands such as

Aurea, Ignite Technologies, Trilogy, and Versata” https://www.linkedin.com/company/eswcapital

       11.      Defendant ESW Capital, LLC is a Foreign Limited Liability Company whose

registered agent for service of process is Capitol Corporate Services, Inc 206 E. 9th Street, Suite

1300, Austin, Texas 78701.

       12.      Trilogy Enterprises, Inc. (DE) (‘Trilogy”) is wholly owned by Trilogy, Inc. (DE) a

sister company to ESW Capital LLC with shared ownership. ESW Capital is referred to as “The

Group” or Shareholders of Trilogy Inc (DE) and ESW Capital LLC (DE), and others. Trilogy
             Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 4 of 13




Enterprises Inc. is the company that runs the shared corporate services for all of the companies

owned by ESW. Plaintiff’s position was with Trilogy Enterprises Inc.

       13.      Defendant Trilogy Enterprises Inc. is a Foreign For-Profit Corporation whose

registered agent for service of process is Capitol Corporate Services, Inc 206 E. 9th Street, Suite

1300, Austin, Texas 78701.

       14.      ESW Capital, LLC is the umbrella company that owns and operates Crossover and

Trilogy.

       15.      Crossover, Trilogy, and ESW Capital, employed and/or jointly employed Kraemer

and the Hourly Workers.

       16.      Crossover, Trilogy, and ESW Capital, are joint employers for purposes of the

FLSA. See 29 C.F.R. § 791.2.

       17.      Crossover is the personnel hub and clearing house that assigned corporate resources

to be assigned to the ESW Capital Group; Crossover also performs some contractor management

for other companies not owned/wholly owned by ESW. Crossover assigns Plaintiff to work for

companies owned by ESW Capital Group.

       18.      ESW Capital Group is a private equity fund whose strategy is to acquire

software/tech companies, bring them under group management, as part of acquisition strategy it

shuts down all physical offices and generally lays off all staff including back office, support, and

shared service staff (accounting, finance, legal), in their stead uses resources already working

through Crossover Market, LLC. In the case of back office and professional services and support

these employees would be Trilogy Enterprises, Inc. staff, additional resources would be hired from

Crossover Market, LLC should additional workload require additional resource.
             Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 5 of 13




       19.      ESW Capital Group, Trilogy Enterprises Inc and Crossover Markets LLC are joint

employers and operate as a single enterprise.

       20.      At all times material to this complaint, Defendants had employees subject to the

provisions of 29 U.S.C. § 206 in the facility where Plaintiff was employed.

                                             FACTS

       21.      Joe Liemandt is an Austin Billionaire that owns ESW Capital Group – ESW Capital

LLC, Crossover Markets LLC, and Trilogy Enterprises Inc, among others.

       22.      ESW Capital is Liemandt’s private equity firm located in Austin.

       23.      Mr. Liemandt uses ESW Capital to buy distressed or underperforming technology

companies.

       24.      In order to staff the companies, he acquires, Mr. Liemandt owns a little-known

recruiting firm called Crossover Market, LLC.

       25.      Crossover is a national and international recruiting company that searches for

developers and software engineers as well as back-office staff (Accounting, Finance, Legal,

Customer Service, etc.). Crossover has remote workers that work from home, cafes, and remote

places all over the globe.

       26.      Crossover assigns back-office staff like Plaintiff (for Trilogy Enterprises Inc) to

support the numerous companies owned by ESW Capital.

       27.      Crossover and Trilogy apply the same operations and pay policies to U.S. workers

that it does to workers they hired abroad.

       28.      For the least the past three years, Kraemer and the Hourly Workers were engaged

in commerce or in the production of goods for commerce.
                Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 6 of 13




          29.      Crossover and Trilogy treated Kraemer and the Hourly Workers as employees and

uniformly dictated the pay practices to which Kraemer and their other employees (including so-

called “independent contractors”) were subjected.

          30.      Crossover and Trilogy misclassification of Kraemer and independent contractors

does not alter its status employers for the purpose of this FLSA collective action.

          31.      During her employment, Defendants paid Plaintiff on an hourly basis.

          32.      Plaintiff’s primary duties were to provide basic accounting functions for ESW’s

companies, support auditors in gathering documents requested on audit lists provided by auditors.

          33.      As ESW acquires new companies, the accounting would be integrated into ESW

family.

          34.      Defendants controlled Plaintiff’s work and activities through the degree of control

exercised by the alleged employer. Management would set weekly and monthly goals for Plaintiff

to achieve. For example, management would give Plaintiff deadlines when she must generate

certain reports. Plaintiff’s hours of work varied based on Defendants' assignments and workload

for the week.

          35.      The relative investments of ESW into the operation is greater than Plaintiff:

                a. Plaintiff used computers and the existing home internet service that has dual use

                   for personal and work.

                b. Defendants invested in leased space in the Frost Bank building on 401 Congress

                   Ave, Ste 2650 Austin, TX 78701, paid for hundreds of support and management

                   staff, cloud software time management software (Worksmart Pro), SaaS accounting

                   software (Intaact and NetSuite), G-Suite (email, drive, and productivity tools -

                   sheets, docs, etc.), Amazon Web Services (AWS) for the group.
             Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 7 of 13




       36.      Defendants set Plaintiff’s hourly rate of pay when they hired her. The hourly rate

of pay was not negotiable. The Defendants set the number of hours Kraemer worked each week.

       37.      Defendants controlled Plaintiff’s hours and used a software that audits her key

stroke and presence before the web cam on her computer.

       38.      Defendants required Plaintiff to download and install the surveillance software

when she started working for the company.

       39.      If the audit team and software checked in on Kraemer and did not see her working,

they would not pay her for that 10-minute time frame.

                      COLLECTIVE/CLASS ACTION ALLEGATIONS

       40.      Kraemer, bring this claim under Section 216(b) of the FLSA as a collective action.

       41.      The same policy that caused Kraemer, to be denied their overtime pay caused

Defendants’ other hourly workers to be denied their overtime pay.

       42.      While the precise job duties performed by the FLSA Collective members might

vary somewhat, these differences don’t matter for the purposes of determining their entitlement to

overtime.

       43.      Nor do any differences in job duties matter for determining whether Defendants’

policy of not paying hourly workers overtime is legal.

       44.      The members of the FLSA Collective are all entitled to overtime for all hours

worked over forty (40) in a workweek consistent with the overtime requirements of the FLSA.

       45.      Because Defendants uniformly failed to pay overtime to all hourly workers,

Plaintiff(s) and the FLSA Collective members are similarly situated within the meaning of 29

U.S.C. § 216(b).
              Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 8 of 13




        46.      Upon information and belief, Defendants employed numerous hourly employees

like Plaintiff during the past three (3) years.

        47.      Nearly all of the questions related to Plaintiff and the FLSA Collective can be

answered on a collective basis.

        48.      Defendants’ practice of refusing to pay hourly workers overtime is based on

established companywide policies.

        49.      The most important questions presented in this case can be resolved on a collective-

wide basis.

        50.      Absent a collective action, many members of the FLSA Collective likely will not

obtain redress of their injuries and Defendant(s) will retain the proceeds of its violations of the

FLSA.

        51.      Furthermore, individual litigation would be unduly burdensome to the judicial

system.

        52.      Concentrating the litigation in one forum will promote judicial economy and parity

among the claims of individual members of the class and provide for judicial consistency.

                              STRAIGHT TIME FOR OVERITME

        53.      Plaintiff typically worked 60 hours a week. Defendants paid Plaintiff straight time

for overtime.

                                    OFF THE CLOCK WORK

        54.      Crossover and Trilogy workers must agree to install spyware on their computers so

Crossover’s productivity team in India can track the number of times they click their mouse or

stroke their keyboard. The tracking software takes screenshots every ten minutes and snaps photos

from PC webcam.
               Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 9 of 13




https://www.forbes.com/sites/nathanvardi/2018/11/19/how-a-mysterious-tech-billionaire-

created-two-fortunesand-a-global-software-sweatshop/#6310d6846cff

         55.      As a condition to working for Trilogy, Plaintiff agreed to install Crossover’s

tracking software and subjected herself to be timed and compensated based on the software’s

tracking of her activities.

         56.      Plaintiff’s work was not always based on the computer.

         57.      Many times during the day, Plaintiff would print out a document to review or write

on.

         58.      Plaintiff would receive phone calls from work when she is not in front of the

computer webcam.

         59.      Plaintiff regularly had Zoom video conferences on her mobile phone away from

her computer webcam.

         60.      Crossover’s spyware software would not give credit for Plaintiff’s work when it

did not detect her sitting in front of the computer, keystrokes on her keyboard or movement of her

mouse.

         61.      Crossover has workers in India whose job is to watch the Trilogy workers through

video feed provided by the Spyware software and established recorded basis for withholding pay

for inactivity.

         62.      Crossover’s surveillance team has provided Trilogy with the basis to deduct time

from Plaintiff’s work time because they did not detect her working in front of her computer.

         63.      As a result, Plaintiff would not be paid for all hours worked.

         64.      There are limited skills and initiative required in running standard accounting

reports and verify their accuracy.
           Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 10 of 13




        65.     Plaintiff worked for Defendants from October 2018 until May 2020.

        66.     Even though Plaintiff regularly worked over 40 hours a week, Defendants did not

pay her overtime premium. Instead, Defendants only paid Plaintiff at straight time for overtime.

                                 JURISDICTION AND VENUE

        67.     This Court has jurisdiction under the FLSA pursuant to 28 U.S.C. §I331 and 29

U.S.C. §216(b).

        68.     Venue is proper pursuant to 28 U.S.C. § 1391(b), because Defendants and Plaintiff

transacted business within this judicial district and the events underlying this complaint occurred

within this judicial district.

        69.     At all times material to this complaint, Defendants employed two or more

employees and had an annual dollar volume of sales or business done of at least $500,000.00.

        70.     At all times material to this complaint, Defendants were an enterprise engaged in

interstate commerce, operating a business engaged in commerce or in the production of goods for

commerce as defined by § 3(r) and 3(s) of the Act, 29 U.S.C. §§ 203(r)-(s).

                                 UNPAID OVERTIME WAGES

        71.     Between October 2018 to May 2020, Plaintiff worked numerous workweeks in

excess of 40 hours per week.

        72.     Defendants paid Plaintiff on an hourly basis.

        73.     During the weeks of employment where Plaintiff worked more than 40 hours,

Defendants failed to pay Plaintiff time and one-half her regular rate of pay as required by the

FLSA.
          Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 11 of 13




       74.        At all times relevant to this case, the Defendants had knowledge of Plaintiff’s

regular and overtime work. Defendants approved Plaintiff’s work and hours. Plaintiff’s work

benefitted Defendants.

       75.        Defendants' actions were willful and in blatant disregard for Plaintiff’s federally

protected rights.

       76.        As a result of Defendants' unlawful conduct, Plaintiff is entitled to actual and

compensatory damages, including the amount of overtime, which was not paid, and which should

have been paid at the proper overtime premium.

       77.        Plaintiff further seeks liquidated damages as Defendants' conduct is in violation of

Section 7 of the FLSA, 29 U.S.C. § 207.

       78.        Plaintiff also seeks compensation of recoverable expenses, costs of court, and

reasonable and necessary attorney's fees pursuant to 29 U.S.C. §216(b).

       79.        Plaintiff has retained the law firm of Tran Law Firm to represent her in this suit.

Plaintiff has entered into a valid contract with Tran Law Firm and has appointed that firm and the

undersigned counsel to be her sole agent, attorney in-fact, and representative in this suit, exclusive

of all other parties, including Plaintiff. To avoid tortious interference with Plaintiff's obligations

to their attorneys in this suit, all communications concerning this suit must be made by Defendants

and Defendants’ attorneys solely to and through the undersigned counsel. Plaintiff's contract with

representation by Tran Law Firm and the undersigned attorney gives rise to a claim for reasonable

and necessary attorney's fees that Plaintiff is entitled to collect from Defendants pursuant to 29 U.

S. C. § 216(b).

                                       PRAYER FOR RELIEF
          Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 12 of 13




       Plaintiff, CAROL KRAEMER, prays that the Court assume jurisdiction of this cause and

that Defendants be cited to appear. Plaintiff prays that the Court award the following relief, under

law and equity, as applicable:

           a. An order finding Crossover, Trilogy, and ESW Capital to be joint employer

               pursuant to the FLSA and state laws.

           b. Judgment against Defendants, jointly and severally, for all unpaid overtime wages

               found to be due and owing;

           c. Judgment against Defendants, jointly and severally, that their violations of the

               FLSA were willful;

           d. Judgment against Defendants, jointly and severally, for an amount equal to the

               unpaid overtime compensation as liquidated damages;

           e. If liquidated damages are not awarded, an award of pre-judgment interest;

           f. Post-judgment interest at the applicable rate;

           g. All costs, recoverable expenses and attorney's fees incurred in prosecuting these

               claims;

           h. Leave to amend to add claims under applicable state laws, if necessary; and

           i. For such further relief as the Court deems just and equitable to which Plaintiff is

               entitled.

                                    JURY TRIAL DEMAND

       Plaintiff, CAROL KRAEMER, hereby demands a trial by jury on all claims she has

asserted in this Complaint.
Case 1:21-cv-00398-LY Document 1 Filed 05/05/21 Page 13 of 13




                           Respectfully Submitted,

                           TRAN LAW FIRM

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